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EXHIBIT 4/6/2021 12:02 PM

  

A Marilyn Burgess - ag Clerk Harris uy
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i 3 By: Carolina Salgad
2021-00592 / Court: 269 stot ae
CAUSE NO.
RAQUEL GUERRERO, § IN THE DISTRICT COURT OF
Plaintiff, §
§
Vv. § HARRIS COUNTY, TEXAS
§
BILLY WALLER TRUCKING, §
Defendant. § JUDICIAL DISTRICT

PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND,
AND REQUESTS FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, RAQUEL GUERRERO, PLAINTIFF (hereinafter, “Plaintiff’), in
the above-styled cause, and files this Plaintiff's Original Petition, Jury Demand, and
Requests for Disclosure, complaining of and against BILLY WALLER TRUCKING,
DEFENDANT (hereinafter, “Defendant”), and for cause of action in support thereof
would respectfully show unto the Honorable Court and Jury the following:

I, PARTIES

1.1 = Plaintiff, RAQUEL GUERRERO, is an individual resident of Houston,
Harris County, Texas.

1.2 Defendant, BILLY WALLER TRUCKING, is an Arkansan company with its
principal office located at 509 West Main, Emerson, Arkansas 71740, and may be served
pursuant to Sections 5.201 and 5.255 of the Texas Business Organizations Code by serving
its registered agent Jeffrey Fultz at 10343 Sam Houston Park Dr., #210 Houston, Texas,

77064-4656.

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H., FURISDICTION AND VENUE

2.1 This Court has jurisdiction over this civil action because Plaintiff seeks
damages in an amount exceeding the Court’s minimum jurisdictional limits.

2.2 Venue for this case is proper in Harris County, Texas, pursuant to
15.002(a)(4) of the Texas Civil Practice and Remedies Code in that Harris County is the
county in which plaintiff resided at the time of the accrual of the cause of action,

2.3. Pursuant to Rule 47(c) of the Texas Rules of Civil Procedure, Plaintiff seeks
only monetary relief of $1,000,000.00 or more.

IH. DISCOVERY CONTROL PLAN

 

3.1 Pursuant to Rule 190.3 of the Texas Rules of Civil Procedure, Plaintiff seeks

a Level 2 Discovery Control Plan.
IV. FACTS

4,1 On or about August 15, 2019, Plaintiff, RAQUEL GUERRERO, was a
passenger traveling eastbound on U.S, Highway 82 when a piece of metal pipe from a
truck struck the front passenger side of the windshield hitting Plaintiff in the face. The
metal pipe matched the cargo of two tractor-trailers owned by Defendant that were
traveling westbound with over-sized loads,

4.2 Onthe date and time of the accident, Defendant owned the aforementioned
two tractor-trailers. Defendant gave express or implied consent to use the tractor-trailers.
Defendant, its agents, representatives or employees, failed to exercise reasonable care that

proximately caused Plaintiffs damages.

 

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V. CAUSES OF ACTION
Negligence
5.1 The occurrence made the basis of this lawsuit resulted from the improper

conduct of Defendant, which proximately caused the injuries and damages to Plaintiff.
Defendant owed Plaintiff a duty to conduct itself as a person of ordinary prudence would
have in similar circumstances, Defendant's agent operated the vehicle said agent was
driving in a negligent, reckless manner, and breached the duties owed to Plaintiff when
il, among other negligence conduct:

a. Failed to properly secure the load;

b. Driver inattentiveness;

c. Driving ina negligent and unsafe manner;

d. Failed to exercise due to care and diligence in operation of
Defendant's vehicle;

e. Failed to follow and abide by the traffic laws of the State of Texas;
and

f. Failed to act as a person of ordinary prudence would have ina
similar situation.

5.2. Each of these acts and/or omissions above, whether taken singularly or in
any combination, constitutes negligence. Defendant's negligence proximately caused
injuries and other losses as specifically set forth herein, all of which Plaintiff has suffered
and which Plaintiff will continue to suffer in the future, and for the remainder of

Plaintiff’s natural life.

 

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Negligent Entrustment

5.3 Defendant is also liable under negligent entrustment of a motor vehicle.
Defendant entrusted the vehicle to it’s agent, employee, and/or driver. Defendant's
agent, employee, and/or driver was reckless in the operation of the vehicle and
Defendant knew or should have known that Defendant's agent, employee, and/or driver
was a reckless driver. Defendant was negligent in the operation of the vehicle for the
reasons stated above and this negligence proximately caused Plaintiffs injuries.
Negligent Hiring

5.4 Defendant is also liable for negligent hiring. Defendant owed Plaintiff a
legal duty to hire, supervise, train, or retain competent employees that would be
operating their vehicles. Defendant breached this duty and the breach was the proximate
cause of Plaintiff's injuries.

Gross Negligence

5.5  Defendant’s conduct, as described above, constitutes gross negligence as
that term is defined in Texas, Specifically, the Defendant's acts and omissions, when
viewed objectively from the standpoint of the Defendant at the time of the occurrence
involved an extreme degree of risk, considering the probability and magnitude of the
potential harm to others; and which the Defendant had actual, subjective awareness of
the risks involved, but nevertheless proceeded with conscious indifference to the rights,

safety and welfare of others, including the Plaintiff.

 

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VI. DAMAGES
6.1 Asa proximate result of Defendant's negligence, Plaintiff suffered physical
injuries. As a result of these injuries, Plaintiff suffered the following damages:
a. Medical expenses in the past and the future;

b. Physical impairment in the past and the future;

C. Physical pain and mental anguish in the past and the future;
d. Loss of enjoyment of life;

e. Exemplary damages;

f, Pre-judgment interest;

g. Post-judgment interest;

h, Costs of Court; and
i. Such other items as may be supplemented after discovery.
VIL REQUESTS FOR DISCLOSURE
7.1 Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendant is
required to disclose, within fifty (60) days of the service of this Request, the information
or material described in Rule 194.2.
Vit. JURY DEMAND
8.1 Plaintiff demands a jury for all issues presented herein. The requisite jury

fee has been paid.

 

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PRAYER
WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays this

Honorable Court cite Defendant to appear and answer herein, that upon final trial and
other hearing of this cause, that Plaintiff recover damages from Defendant in accordance
with the evidence, and as the jury deems them deserving, that Plaintiff recovers costs of
court herein expended, that Plaintiff recovers interest to which Plaintiff is justly entitled
under the law, both prejudgment and postjudgment, and any and all further such relief,
general or special, either in law or at equily, to which this Honorable Court determines
Plaintiff justly entitled.

Respectfully submitted,

ROBERTS MARKLAND LLP

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ATTORNEYS FOR PLAINTIFF

 

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DESIGNATED E-SERVICE EMAIL ADDRESS

The following is the designation of electronic service email address for the above
attorney(s) for all electronically served documents and notices, filed and unfiled pursuant
to Tex. R. Civ, P. 21(f)\(2) and 21(a): eservice@robertsmarkland.com. This is the ONLY
electronic service email address for the above attorney(s), and service through any other
email address will be considered invalid.

 

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I, Marilyn Burgess, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded im my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office

this February 6, 2021

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Mail Gaye

Marilyn Burgess, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. [f there is a question regarding the validity of this decument and or seal
please e-mail support@hcdistrictclerk.com
